425 F.2d 1093
    Donald PRATHER, Plaintiff-Appellee,v.NEW YORK SCOW CORPORATION, Defendant-Appellant.
    No. 765.
    Docket 34524.
    United States Court of Appeals, Second Circuit.
    Argued May 7, 1970.
    Decided May 8, 1970.
    
      Edward M. Katz, New York City (Abraham E. Freedman, New York City, on the brief), for plaintiff-appellee.
      Thomas J. Irving, New York City (Foley &amp; Martin, New York City, on the brief), for defendant-appellant.
      Before LUMBARD, Chief Judge, and WATERMAN, Circuit Judge and JAMESON, District Judge.*
      PER CURIAM:
    
    
      1
      We affirm the judgment of the district court on a jury verdict awarding $40,000 damages to the plaintiff, a deckhand on the tug Crow, in his action against his employer pursuant to the Jones Act and the General Maritime Law. While the award for pain and suffering, loss of wages, and partial loss of the use of the left hand due to the fracture of the thumb at the base of the hand is generous, we cannot say that the award was so excessive that it was an abuse of discretion for the trial judge to deny the defendant's motion for a new trial or a remittitur.
    
    
      2
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Sitting by designation
      
    
    